USCA11 Case: 24-12513    Document: 35     Date Filed: 09/10/2024   Page: 1 of 7




                               No. 24-12513

               UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT

                        JULIA ROBINSON, et al.,
                           Plaintiffs-Appellants,
                                     v.
                                USA, et al.,
                           Defendants-Appellees.

      On Appeal from the United States District Court for the Northern
              District of Georgia, No. 1:23-cv-05655-MHC

        DEFENDANT-APPELLEE MARIANA DANET M.D.’S
          CERTIFICATE OF INTERESTED PARTIES AND
              CORPORATE DISCLOSURE STATEMENT

                         Thomas E. Lavender III
                        Georgia Bar No. 439389
                            Amy M. Hoffman
                        Georgia Bar No. 359606
                    LAVENDER, HOFFMAN, EMERY, LLC
                           750 Hammond Drive
                           Building 2, Suite 200
                         Atlanta, Georgia 30328
                     (404) 400-4500 (phone and fax)
                         tlavender@lhefirm.com
                        ahoffman@lhefirm.com

           Counsel for Defendant- Appellee Mariana Danet, M.D
  USCA11 Case: 24-12513        Document: 35    Date Filed: 09/10/2024   Page: 2 of 7


      APPELLEE MARIANA DANET, M.D.’S CERTIFICATE OF
      INTERESTED PARTIES AND CORPORATE DISCLOSURE
                       STATEMENT

        Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and Rules

26.1-1 and 26.1-2 of the Rules of the United States Court of Appeals for the Eleventh

Circuit, Defendant-Appellee Mariana Danet, M.D. (Dr. Danet), certifies that the

following is a complete list of known trial judge(s), all attorneys, persons,

associations of persons, firms, partnerships, or corporations that have an interest in

the outcome of the particular case on appeal, including subsidiaries,

conglomerates, affiliates, and parent corporations, including any publicly held

corporation that owns 10% or more of the party’s stock, and other identifiable legal

entities related to a party:

       •      Amgen Inc. (AMGN) – Defendant/Appellee

       •      Apple Inc. (AAPL) – Defendant/Appellee

       •      AT&T Inc. (T) – Defendant/Appellee

       •      Audi Inc. – Defendant/Appellee

       •      Austin, Lloyd – Defendant/Appellee

       •      Baker Hostetler LLP – Counsel for Defendant/Appellee Enterprise

              Holdings, Inc.

       •      Barnes & Thornburg LLP – Counsel for Defendant/Appellee

              Memorial Healthcare System
USCA11 Case: 24-12513     Document: 35    Date Filed: 09/10/2024   Page: 3 of 7



    •    Baxter, Jeffery R. – Counsel for Defendant/Appellee Enterprise

         Holdings, Inc.

    •    Becerra, Xavier – Defendant/Appellee

    •    Bertagnollo, Monica – Defendant/Appellee

    •    BlackRock Inc. (BLK) – Defendant/Appellee

    •    Bold, Fredric Joseph – Counsel for Defendant/Appellee Apple Inc.

    •    Bondurant Mixson & Elmore, LP – Counsel for Defendant/Appellee

         Apple Inc.

    •    Burns, William J. – Defendant/Appellee

    •    Buttigieg, Pete – Defendant/Appellee

    •    Califf, Dr. Robert – Defendant/Appellee

    •    Cohen, Honorable Mark H. – U.S. District Court Judge

    •    Cotton, Jennifer L. – Counsel for Defendant/Appellee AT&T Inc.

    •    Danet, MD Mariana – Defendant/Appellee

    •    Deutsche Telekom AG (DTEGY) – Non-Party parent company of T-

         Mobile Global Zwischenholding GmbH

    •    Deutsche Telekom Holding B.V. (“DT B.V.”) – Non-party owner of

         more than 10% of the shares of T-Mobile US, Inc.

    •    Does, Jane – Defendant/Appellee

    •    Does, Joe – Defendant/Appellee
USCA11 Case: 24-12513    Document: 35      Date Filed: 09/10/2024    Page: 4 of 7



    •    Enterprise Holdings Inc. – Defendant/Appellee

    •    Enterprise Rent-A-Car Inc. – Defendant/Appellee

    •    Florida Atlantic University (FAU) – Defendant/Appellee

    •    Florida Attorney General’s Office – Counsel for Defendant/Appellee

         Florida Atlantic University

    •    Gal, Raanon – Counsel for Defendant/Appellee Memorial Healthcare

         System

    •    Garland, Merrick – Defendant/Appellee

    •    Hall, Kendall J. – Plaintiff/Appellant

    •    Hernandez-Rodriguez, MD Yoel A. – Defendant/Appellee

    •    Hoffman, Amy Michelle – Counsel for Defendant/Appellee MD

         Mariana Danet

    •    Jett, John P. – Counsel for Defendant/Appellee AT&T Inc.

    •    Kilpatrick   Townsend      &     Stockton    LLP    –      Counsel   for

         Defendant/Appellee AT&T Inc.

    •    King & Spalding LLP – Counsel for Defendant/Appellee BlackRock,

         Inc.

    •    Knoop, Matthew S. – Counsel for Defendant/Appellee T-Mobile USA,

         Inc.

    •    Lavender Hoffman Emery, LLC – Counsel for Defendant/Appellee
USCA11 Case: 24-12513    Document: 35    Date Filed: 09/10/2024   Page: 5 of 7


         MD Mariana Danet

    •    Mason-Hirner, Dr. Brittney – Defendant/Appellee

    •    Mayorkas, Alejandro – Defendant/Appellee

    •    Memorial Hospital – Defendant/Appellee

    •    Miller & Martin, PLLC – Counsel for Defendant/Appellee Amgen Inc.

    •    Mojio Inc. Bulgaria – Defendant/Appellee

    •    Mojio Inc. Canada – Defendant/Appellee

    •    Mojio Inc. United States – Defendant/Appellee

    •    Nakasone, General Paul M. – Defendant/Appellee

    •    Page, Edwin Allen – Counsel for Defendant/Appellee Apple Inc.

    •    Polsinelli PC – Counsel for Defendant/Appellee T-Mobile USA, Inc.

    •    Robinson, Julia M. – Plaintiff/Appellant

    •    Rumfelt, Eileen Elizabeth H. – Counsel for Defendant/Appellee Amgen

         Inc.

    •    Starr, Peter – Counsel for Defendant/Appellee BlackRock, Inc.

    •    Sutter, Christopher – Counsel for Defendant/Appellee Florida

         Atlantic University

    •    The United States of America – Defendant/Appellee

    •    T-Mobile Global Holding GmbH (“Holding”) – Non-party parent

         company of DT B.V.
  USCA11 Case: 24-12513        Document: 35     Date Filed: 09/10/2024    Page: 6 of 7



       •     T-Mobile Global Zwischenholding GmbH (“Global”) – Non-party

             parent company of Holding

       •     T-Mobile US, Inc. (TMUS) – Defendant/Appellee

       •     Wray, Christopher A. – Defendant/Appellee

       At this time, the undersigned counsel is aware of no other persons,

associations, firms, partnerships, or corporations that have either a financial interest

or other interest which could be substantially affected by the outcome of this

particular case. Mariana Danet, M.D will promptly file a supplemental disclosure

statement if any required information changes.

       Respectfully submitted, this 6th day of September 2024.

                                              /s/ Amy M. Hoffman
                                              Thomas E. Lavender III
                                              Georgia Bar No. 439389
                                              Amy M. Hoffman
                                              Georgia Bar No. 359606
                                              Counsel for Defendant- Appellee
                                              Mariana Danet, M.D

LAVENDER, HOFFMAN, EMERY, LLC
750 Hammond Drive                                    .
Building 2, Suite 200
Atlanta, Georgia 3328
(404) 400-4500 (phone and fax)
tlavender@lhefirm.com
ahoffman@lhefirm.com
  USCA11 Case: 24-12513      Document: 35     Date Filed: 09/10/2024   Page: 7 of 7


                         CERTIFICATE OF SERVICE

      I certify that on September 10, 2024, I electronically filed the foregoing

APPELLEE MARIANA DANET, M.D.’S CERTIFICATE OF INTERESTED

PARTIES AND CORPORATE DISCLOSURE STATEMENT using the

CM/ECF system which will automatically send email notification of such filing to

all counsel of record. I have also on this day caused a copy of the pleading to be

placed in first class United States Mail, postage prepaid, addressed to the following

non-CM/ECF participants:


                                 Julia M. Robinson
                                 Kendall J. Hall
                                 2451 Cumberland Pkwy SE
                                 Suite 3320
                                 Atlanta, GA 30339


                                            /s/ Amy M. Hoffman
                                            Thomas E. Lavender III
                                            Georgia Bar No. 439389
                                            Amy M. Hoffman
                                            Georgia Bar No. 359606
                                            Counsel for Defendant- Appellee
                                            Mariana Danet, M.D

LAVENDER, HOFFMAN, EMERY, LLC
750 Hammond Drive                                  .
Building 2, Suite 200
Atlanta, Georgia 3328
(404) 400-4500 (phone and fax)
tlavender@lhefirm.com
ahoffman@lhefirm.com
